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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     :      2:23-CR-00146-NR-1
                                             :
v.                                           :      Filed Electronically via ECF
                                             :
BRIAN DIPIPPA,                               :
                                             :      HONORABLE JUDGE
                      DEFENDANT.             :      J. NICHOLAS RANJAN

                                            ORDER

               AND NOW, this _____ day of ______________, 2024, upon consideration of

Defendant’s Motion To Reveal Confidential Informants, IT IS ORDERED that said Motion is

GRANTED. The Government shall reveal to counsel for the Defendant within 7 days of the date

of this Order, the names of any confidential informant, the contact information for each and the

information requested in numerals i-vii in said motion.


                                             ____________________________________
                                             J. NICHOLAS RANJAN, JUDGE
                                             UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF PENNSYLVANIA
